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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF LOUISIANA


                                                            MDL No. 2179
  In re: Oil Spill by the Oil Rig
         “Deepwater Horizon” in the Gulf
         of Mexico, on April 20, 2010                       SECTION: J

                 This Document Relates to:                  JUDGE BARBIER
                             No. 12-970
                                                            MAGISTRATE SHUSHAN


                                   SCHEDULING ORDER

       CONSIDERING the October 2, 2013 decision of the U.S. Fifth Circuit Court of Appeals in

Nos. 13-30315 c/w 13-30329, and after conferring with the Parties:

       IT IS ORDERED THAT:

       I.     For purposes of the remand ordered by the Court of Appeals, all evidence and
              other submissions in the record regarding the Claims Administrator’s Policy
              Announcement of January 15, 2013, the Court’s March 5, 2013 ruling, BP’s
              Motions for Preliminary Injunction, and U.S. Fifth Circuit Case Nos. 13-30315
              c/w 13-30329, already form part of the record, and need not be re-introduced or
              re-submitted.

       II.    On or before November 4, 2013, the BP Parties and Class Counsel shall each
              submit:

              1. Any and all supporting documents which each party contends establishes
                 either that:

                      a. The Parties discussed, prior to the time the agreement was signed,
                         whether the expenses in Cash-basis Claims would be “matched” under
                         Exhibit 4C, (similar to the way in which expenses are generally
                         matched in Accrual-based Claims); or

                      b. The Parties did not discuss, prior to the time the agreement was signed,
                         whether the expenses in Cash-basis Claims would be “matched” under
                         Exhibit 4C, (similar to the way in which expenses are generally
                         matched in Accrual-based Claims).
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                2. Any and all supporting documents, exchanged prior to the time the agreement
                   was signed, which each party contends establishes either that:

                        a.      The Parties specifically agreed that expenses would be “matched”
                                to revenue under Exhibit 4C for both Accrual-based and Cash-
                                based Claims; or

                        b.      The Parties did not specifically agree that expenses would be
                                “matched” to revenue under Exhibit 4C for both Accrual-based
                                and Cash-based Claims.

                3. Any and all responses (if any) to the April 4, 2012 E-Mail from Charles
                   Hacker to Joe Rice and Daniel Cantor, et al, and/or any other documents, (if
                   any), exchanged prior to time the agreement was signed, which each party
                   contends demonstrates that Exhibit 4C was changed in light of said E-Mail.

                4. Any and all documents (if any) generated prior to the time the agreement was
                   signed, which were not exchanged, but which a party might contend
                   demonstrates that the Parties specifically agreed that expenses would be
                   “matched” to revenue under Exhibit 4C for both Accrual-based and Cash-
                   based Claims.

                5. A position paper, not more than five pages, addressing the issues and
                   associated documents (if any) identified in Nos. 1-4, above.

        III.    If, based on the November 4, 2013 submissions, either the Parties or the Court
                determine that additional evidentiary consideration is necessary, the Parties and
                the Court will proceed to a formal evidentiary hearing, as follows:

        IV.     On or before November 11, 2013, the Parties will exchange any fact declarations
                which they intend to submit, and identify any and all fact witnesses (if any) whom
                they intend to call live at the evidentiary hearing on December 2, 2013.1

        V.      Any rebuttal declarations will be exchanged, and any live rebuttal witnesses (if
                any) will be identified, by November 18, 2013.

        VI.     Depositions (if any) of any fact witnesses expected to be called live will be
                limited to four hours.

        VII.    The evidence will be limited in time and scope to the discussions or agreements
                (if any) which may have occurred prior to the execution of the Settlement
                Agreement.

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           The Parties have included the date set by the Court. See Rec. Doc. 11635. However, if the Court
feels that it needs additional time to render a decision under the 60-day remand period, the Parties would
respectfully suggest a Hearing Date of Monday, November 25, 2013.
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   VIII.      No expert opinion testimony will be permitted.

   IX.        Proposed Findings shall be submitted by Monday, November 25, 2013.

   X.         An evidentiary hearing will be held on Monday, December 2, 2013, at 8:30 a.m.2

   XI.        The parties and witnesses will be available at the hearing, as the Court will
              reserve the right to question any party or witness regarding any declaration or
              other documentary evidence submitted.


   SIGNED at New Orleans, Louisiana, this __ day of October, 2013.



                                                          ______________________________
                                                          Hon. Carl J. Barbier




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       See Footnote 1, supra.
